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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:05CR254
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )              TENTATIVE FINDINGS
                                              )
MICHAEL HAMBRIGHT,                            )
                                              )
              Defendant.                      )

       The Court has received the Presentence Investigation Report (“PSR”) and the

parties’ objections thereto (Filing Nos. 49, 51). See "Order on Sentencing Schedule," ¶ 6.

The Court advises the parties that these Tentative Findings are issued with the

understanding that, pursuant to United States v. Booker, 2005 WL 50108 (U.S. Jan. 12,

2005), the sentencing guidelines are advisory.

       The parties have objected to the quantity of controlled substance attributable to the

Defendant in ¶ 22 and the base offense level 26. The plea agreement reached pursuant

to Federal Rule of Criminal Procedure 11(c)(1)(C) requires a base offense level of 24. The

Court’s tentative findings are that, absent unusual circumstances, the Rule 11(c)(1)(C) plea

agreement should be upheld and the base offense level should be calculated as level .

       IT IS ORDERED:

       1.     The Court’s tentative findings are that parties’ objections (Filing Nos. 49 and

51) to the PSR are granted;

       2.     The parties are notified that my tentative findings are that the PSR is correct

in all other respects;

       3.     If any party wishes to challenge these tentative findings, the party shall file,

as soon as possible but in any event before sentencing, and serve upon opposing counsel
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and the court a motion challenging these tentative findings, supported by (a) such

evidentiary materials as are required (giving due regard to the requirements of the local

rules of practice respecting the submission of evidentiary materials), (b) a brief as to the

law, and (c) if an evidentiary hearing is requested, a statement describing why an

evidentiary hearing is necessary and an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this order,

my tentative findings may become final;

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 17th day of November, 2005.

                                                 BY THE COURT:

                                                 s/Laurie Smith Camp
                                                 United States District Judge




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